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                      EXHIBIT D
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3rd December, 2018


The Honorable Edgardo Ramos,
United States District Judge,
40 Foley Square, New York,
New York 10011,



Dear Honorable Ramos,



I am Aliaa El Gammal, sister of Ahmed El Gamma I. I am working as a health Insurance Underwriter in a
United Arab Emirates national insurance Company in the capital Abu Dhabi. I have been asked to write
a character letter about my brother and soulmate, Ahmed El Gammal, or Jimmy Gamma I as he is usually
known.

Ahmed and I shared the same father and mother, the same school, same home and the same principles.
He is not brother only but also my friend and my supporter in life.
I do not have any other brothers or sisters, I have only 1 brother: Ahmed
Ahmed is only 2 years and 8 months older than I am, but I always considered him my idol and he is an
idol for my 2 kids as well. Although Ahmed and I had been raised in a moderate family (our dad was an
Architect and our mum was a Follow up and planning Manager in a general insurance Company) that
gave us all what we need from good education to warmth and support, after finishing his college and
working for 3 years in MIB a famous bank in Cairo, Ahmed decided to go on with his career in a different
direction based on only his efforts without any family intervention and to build his own future in USA.

Although I was sad at the beginning, I was happy he could enhance his career and build his own world
from A to Z. Ahmed came to US when he was only 25 years and started his career from scratch.
It took from him a lot of years, patience and ambition to build a career in a country which he has chosen,
and the home that he knows as a land of Democracy and Freedom.

Ahmed is a person full of life, has a good sense of humor; he is kind hearted; he enjoys life, seeking out
new places. I remember when he told me that he took Celeste and both of them went diving and saw
different types of colored fish and how it was a nice feeling. They went to Hawaii and other different
places.

He is a very caring son also. My father died just 6 months after Ahmed's travel to US. When that
happened, Ahmed was really devastated- he was crying on the phone like a baby. I really believe my
brother is a grownup man with a heart of a baby. As a child he was a smart, sociable and lovable boy.

After I got married and travelled to the UAE, Ahmed became very worried about my mum being alone
all the time in Cairo. He was worried about her health condition as well. Ahmed made a lot of
procedures and arrangements for my mother so that she can avail US citizenship and stay with him , but
she got only Green Card due to his arrest.

My mum was very happy with Jimmy during her long stay in US. He took her to different places- to Las
Vegas, to New York, to the water falls near Canada. I am afraid her health condition has now
deteriorated a lot as she worries about Ahmed. She doesn't want to take medication or treatment. I




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    believe my brother is the only person who can help her, she is so attached to him. He is the only
    caregiver for my mother.

    He was a very good husband in my opinion and as far as I know he supported Celeste and she supported
    him. I remember he had a car accident that affected his hips and she took a good care of him. He had a
    good relationship with Celeste and her mother Cherie despite their different origins, different cultural
    backgrounds, different religions and different traditions. This all proves how open minded a man he is.
    He and Celeste have a unique and rare relationship I believe. It was Ahmed who helped Celeste a lot and
    convinced her to take medication and treatment. He helped her to find a job and a house.
    He even sought to get some financial aid for her from the government because of her medical mental
    condition. He is so elegant and he is indeed a man offeelings.

    Both of them suffered from obesity for a period of time, but they supported each other to do sport and
    have a healthy diet to be in good shape in which they both succeeded to achieve.

    As a brother, he is so caring also. He used to advise me how to deal with my husband and kids, he was
    accusing me of spoiling my kids when I let them sit in the front chair in the car without seat belt when
    we were in Cairo, he was really appalled. I have always known him to be law-abiding. I never witness
    anything like the recent court events and that was really shocking to all of us.

    Jimmy is also generous and kind. He used to give money to the beggars in Cairo. He would also give
    money, clothes, tools and furniture to a company in US called Good Will. He used also to donate to
    various institutions in Arizona.

    He likes to boast sometimes, but he always has good faith in people and good intentions towards others
    which some people might exploit.

    He was having a car workshop called Cars R Us with a few people, around 6, working in that workshop.
    And they were the breadwinners for their families, but they lost their earnings accordingly after Jimmy's
    arrest as the business stopped . Jimmy was a man who worked hard, diligently and perseveringly.

    I really have faith in him and in his good intentions, even after this case. He is a family man who cares
    about people and the life he fought for in US. By all means he will not try to do anything again that
    could ruin that life.

    I would be more than happy to support him continue his career and business again and my family and I
    will support him however he needs us through this case and after he is home.

    Thank you for taking the time to read my letter.

    Sincerely,


-
    Aliaa Elgammal




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December 3, 2018

Hon. Edgardo Ramos
U.S. District Court for the Southern District of New York
40 Foley Square
New York, NY 10011

Dear Judge Ramos:

This is a hard letter to write but if I had to look at it positively I guess I would say that it will remind me
of all the great things that I know about jimmy. Jimmy has always been good to me.

In ‘97/’98 Jim and I met through some mutual friends. He was successful with his own car and a steady
job at a local store. He worked full time and I was in between jobs. Jim helped me to get back into
school. With the onset of my mental illness things got hard for me. I had one episode in the hospital but
still wasn’t convinced of my illness. With the stigma associated with mental illness it took me a while to
understand but Jim was there and helped me to feel good about myself. He encouraged and supported
me through finding a job (and then other jobs). Jim had moved on from the job he had when we first
started because the owner sold the business. It was Jim’s dedication to me that got him to take on
overnight work as well as a second job, all in the hopes of marrying me.

In 2000 I found a job I liked and stayed. It wasn’t easy as I was still experiencing problems with my
mental health and though Jim tried to convince me to get help for that I refused.

In 1999/2000 Jim and I got married. We couldn’t afford a honeymoon but we saved and in 2001 we
went to Hawaii. This would be the first of many vacations with Jim.

We both worked hard for a while. In 2004 I moved to Arizona. By the end of the year we were planning
another trip to Hawaii and Jim followed me out to Arizona from California a year later. I was holding
down a job and for a while Jim was unsure what he would do for work. He went back to the job he had
in California but soon realized he didn’t like working under the supervision of another. So he talked with
my mom who gave him a loan and he started his own business. Also in that time Jim helped take care of
my grandmother who was in a nursing home now. He would go to visit her, talk to her and occasionally
talk to the others at the home. He was respectful and courteous and he would spend many hours there
till the end of my grandmother’s life.

It was some time after Jim had moved to Arizona that he finally convinced me to seek help. I went to my
doctor and told him about my situation. Jim showed signs of some final help and relief. I continued to go
but still hadn’t immersed myself into my recovery. I was still leery and fighting it. At this time Jim and I
really didn’t get along so well, but he stuck by me. He went through all the ups and downs of going to
the doctor and finding the right medication.




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With the start of his own car sales business he diligently worked and I quit my job to help him. We
worked many long hours, days at a time, but soon the loan was paid off and we were thinking of moving
into a house.

We moved into the house and I was still dealing with my mental illness. This became apparent with
some of my behaviors that Jim took care of. We moved out with the housing crash and went back to an
apartment. Car sales weren’t doing so good and Jim started to feel the pressure both mentally and
physically. His mood started to deteriorate and his body started to break down. Both his back and his
knee started to take a toll.

It was at this time that I had a severe episode and went to the hospital for an evaluation. It was the
beginning of my recovery. Though Jim still was unsure of my commitment and stuck by me. It worked
and I officially through my own accord decided I was ill and sought treatment. Jim was there every step
of the way and I’m sure he can attest it wasn’t easy. Jim showed me how much he really cared about me
and my health. Without his perseverance and commitment I don’t think I would have gotten so far. Jim
could now stop worrying about me so much and think once again about his career.

Jim brainstormed until he came up with another business plan. This time he would sell evaporative
coolers. He did the research, spoke to a manufacture in China and worked out a deal. He was and still is
motivated! We went to three states, Arizona, Nevada, and California, and sold coolers. Jim was back and
he was happy. When in Nevada we would spend a day in Vegas and we ended up going there quite
often.

Jim wanted to bring his mom to America and started the quest to get her here with her permanent
residence card. He was in the middle of this when things broke down between Jim and I and we got a
divorce but not without seeking professional help for my mental disability. Jim was confident with this
help that I would be able to handle life on my own. I moved out and soon after that we divorced. He did
manage to get his mom out here and I was happy to finally meet her. And she too of me.

Along the way Jim has done many things for me and with me. He helped me graduate college, start a
fulfilling job, and raise a couple of cats to make our house a home. He has helped my mom countless
times when she needed it financially. He has seen the development of my brother’s family, finding a
niece and nephew who he watched grow. It’s been about 20 years now that I have known Jim and he
has created some of the best memories of my life.




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August 1, 2018


The Honorable Edgardo Ramos
United States District Judge
40 Foley Square
New York, New York 10011


Dear Your Honor Ramos;
My name is Cherie Dubrow. I am a cashier at a local casino here in Glendale,
Arizona. I have known Ahmed “Jimmy” el Gammal since 1998. He and my
daughter, Celeste began dating, eventually marrying in 2000. Though they
divorced in 2015, Jimmy and I still have a very close relationship. I feel that I
know him very well, as he lived in my home for about 4 years, at various times and
locations.
When I first met him, he was an attendant at a convenience store. Within about a
year he had moved up to a very successful salesman at a large Ford dealership in
Pasadena, California. He won several awards while there for his sales and service
abilities.
When he relocated to Arizona he again worked at a large Ford dealership in Peoria,
AZ, where again he won several awards. In 2005 he started his own business,
CarsRUs. Buying, fixing, and selling vehicles. In addition, he bought and sold
evaporative coolers.
Jimmy and I had several business dealings over the years. When he started his
own business, I loaned him money. He repaid me well before the agreed upon
time, and a higher than agreed upon amount. At times I needed his help and he
loaned me money. I can always count on Jim.
Please don’t misunderstand, Jim and I could and did get into some “lively”
discussions over the years. Not all ended amicably. But all ended with respect and
appreciation for the other opinion. Since English is not his first language, I would
often have to explain how something he said to someone was incorrect due to his




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grammar. He would often get frustrated with our language due to the numerous
meanings and definitions.
Jim is also very interested in our political system and how it all works. He would
get into lively discussions with anyone to try to understand their views and
opinions. He was very excited the first time he got to vote, and in fact worked at
the polling places of a couple of elections.
In 2009 the company that I worked for went out of business. Jim never skipped a
beat, having me come to work with him at his business, CarRUs. He taught me
where to go for his parts and supplies, and had me run errands. He would always
find an excuse to give me money at the end of the day. He also taught me about
his cooler business and I would often be the point of contact for buyers when he
could not be there.
I believe Jim to be honest, caring, passionate, trustworthy, dependable, and
sometimes cheap. He would often only put $10.00 worth of gas to go run errands
and would have to refill as he went instead of starting with a full tank.
Through all of the years, Jim has always been supportive of Celeste, myself, and
our family. Both financially, emotionally and personally. Especially with Celeste.
She has gone through some very difficult times for a very long time and Jim has
remained by her side even though their relationship as husband and wife was long
over, and in the face of harsh criticism.
My opinion has not changed with this conviction.


Cherie Dubrow




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     TAMER AHMED ELSAID
     CAIRO - EGYPT
     ACCOUNTANT
     DATE: 29.11.2018

     Dear Honorable Edgardo Ramos,


     I am writing this letter in support of my friend Ahmed
     Mohammed EIGammal.
     1 can attest that he has shown sincere reflection about his
     current situation and he is committed to not making any such
     grave mistakes in the future. Since his arrest he has taken
     several steps to correct and improve himself.

     I have known him for over 24 years, since we were studying in
     college in Cairo, Egypt. He has always been a very kind, easy
     going and caring person that would not be even bothered with
     the thought of harming anybody. The Ahmed I know was
     always the first to help his family and friends if that was
     requested of him and was also very honest and straightforward
     when entrusted with any affair.

     He was always an avid animal lover and when we used to hang
     around he was always giving them food and petting them.
      He adopted several cats while living in USA and he was caring
     and loving to his pets.
     I remember on one instance that I invested some money in his
     car business in the USA and he was true to his promise of
     returning the money I invested and the profit even faster than
     expected.
     If I were ever in need I knew that I could count on him for help.
     He was always there for me and my family.
     He is a very humble person and down to earth.
     While living in Egypt he used to work in a local bank and he




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     was always praised for his effort and seriousness. He left Egypt
     for the USA in 1997 with a very small handbag but big dreams
     o' rna~ 'lg a good life for himself. Since his arrival on the US
     so; 1'1e 11as been working really hard to make his dream come
     rrue. h e "lanaged to make a car business and own a house
     througi"l the income he made while also helping his family back
     home.
     After he traveled we kept in touch via the internet or phone and
     we saw each other during his visits to Egypt.

     Ahmed was involved in several charity projects, one of them
     was sending money and clothes to a company in the USA
     called Goodwill. He also helped build a mosque in Phoenix
     where he lived.

     At the time of his arrest I know that Ahmed was working hard
     on bringing his mother to live with him in the USA which he
     managed to do. He has an old mother that needs him for care
     and support.

     It is important to know that he has no criminal record in Egypt,
     not even as much a driving ticket. Ahmed is a good person for
     whom criminal conduct is an aberration.
     Given his otherwise clean record, I strongly believe that a
     lesser sentence is most appropriate in this situation.
     I thank you in advance for accepting and making time to read
     my letter.


     Sincerely,
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Dear Honorable Edgardo Ramos;

It is an honor writing to you; as I was asked to write to you about Mr. Ahmed El‐gammal.

First of all my name is Mahmoud Yahia El‐Gammal; I am an Egyptian living in Cairo and a cousin of
Ahmed El‐Gammal, I am a Civil engineer working as an infrastructure Consultant in a prominent
consultancy firm in Egypt.

This letter aim to briefly illustrate my relationship with Mr. Ahmed and what is see in his personality and
what I know about him hoping to shed some light on whatever the true nature of Mr. Ahmed as I know
him since we were kids and close relatives.

Ahmed is one of my older cousins; we used to live in the same neighborhood, we went to the same
school and shared in a lot of various life activities. Ahmed was a Kind person with warm heart, he used
to help me in studying and getting over whatever problems I face at school and he was able to help. In
fact he is a type of guys so kind he would provide help to all of his friends and colleagues.

It was sad for me when he went to the United States searching for a new life away from Egypt but he
was ambitious seek his own dreams. We met many years later many times and we talked a lot, he was
still the nice guy who I had known in all of my life.

I was in a shock when I heard about the accusation and what happened to him and in of his life he was
known to be hard working student had no incident of any kind and he was keen to avoid any problems
in his life, by any mean it does not make any sense to ruin the life he fought hard to get in USA and I am
sure the he had fake friends who exploited his kindness and his willing to help everyone around him and
abuse it. I know that this may be not an excuse but I have faith in god that the Ahmed who was and still
a kind guy to everyone will not be rewarded by such harsh payment for the abuse of his kindness.

In the end I am willing to be available as a friend ‐ not only family ‐ to help Ahmed with whatever he
needs upon his release from prison and will spare nothing to return him to life as a good member of the
society.

And finally please accept all my respect for your valuable time.

Sincerely,

Mahmoud El‐Gammal




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Dear judge,

I am Shadwa Elgammal a cousin of Ahmed El-Gammal,I am staying currently in Germany
Ahmed was the older cousin in our family. That means a lot to us . I was not staying in Egypt all
the time but I used to see him in vacations and family gatherings , he is a funny guy and kind
guy .
He always drew the attention to him and like to talk and reveals stories. He never did a harm to
any body.
He was always caring about his work , his family and his future.
He is smart but at the same time very kind hearted and that may let others misuse him.
What I heard about him recently was a shock to me and would never believe in.
May God always bless him

Shadwa Elgammal




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                               CHARACTER LETTER

My name is Abdelrahman Elgammal, working as an engineer and I’ve known Mr.
Gammal very well since about 20 years as he is my cousin and one of our family
members.

As far as I know Mr. Gammal’s character I consider him a law abiding, kind,
generous, honest person who cares for others and well liked from his relatives,
family and friends. He is also an ambitious person who loves life and has a good
reputation.




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